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                            NEO4J, INC. and NEO4J SWEDEN AB
                   10

                   11                                   UNITED STATES DISTRICT COURT

                   12                                NORTHERN DISTRICT OF CALIFORNIA

                   13       NEO4J, INC., a Delaware corporation, and         CASE NO. 5:18-cv-07182-EJD
                            NEO4J SWEDEN AB, a Swedish
                   14       corporation,                                     [PROPOSED] PERMANENT
                                                                             INJUNCTION AGAINST DEFENDANTS
                   15                       Plaintiffs,
                                                                             Date:     March 25, 2021
                   16                v.                                      Time:     9:00 a.m.
                                                                             Dept.:    Courtroom 4, 5th Floor
                   17       PURETHINK LLC, a Delaware limited                Judge:    Hon. Edward J. Davila
                            liability company, IGOV INC., a Virginia
                   18       corporation, and JOHN MARK SUHY, an
                            individual,
                   19
                                              Defendants.
                   20
                            AND RELATED COUNTERCLAIM.
                   21
                                                                             CASE NO. 5:19-CV-06226-EJD
                            NEO4J, INC., a Delaware corporation, and
                   22       NEO4J SWEDEN AB, a Swedish
                            corporation,
                   23
                                            Plaintiffs,
                   24
                                     v.
                   25
                            GRAPH FOUNDATION, INC., an Ohio
                   26       corporation, GRAPHGRID, INC., an Ohio
                            corporation, and ATOMRAIN INC., a
                   27       Nevada corporation,
                                              Defendants.
                   28
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                            [PROPOSED] PERMANENT INJUNCTION AGAINST DEFENDANTS; CASE NOS. 5:18-CV-07182-EJD AND
                            5:19-CV-06226-EJD
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                        1          Plaintiff Neo4j, Inc.’s Consolidated Motion for Partial Summary Judgment on its Lanham
                        2   Act and related California Unfair Competition Law (“UCL”) claims against Defendants
                        3   PureThink LLC, iGov Inc. and John Mark Suhy in CASE NO. 5:18-cv-07182-EJD (the “PT
                        4   Action”) and Defendant Graph Foundation Inc. in CASE NO. 5:19-CV-06226-EJD (the “GFI
                        5   Action”) for: (1) trademark infringement, 15 U.S.C. § 1114; (2) false designation of origin and
                        6   false advertising, 15 U.S.C. § 1125(a); (3) federal unfair competition, 15 U.S.C. § 1125(a); and
                        7   (4) state unfair competition in violation of Cal. Bus. Prof. Code §§ 17200 et seq. came before this
                        8   Court for hearing on March 25, 2021, in the above-entitled actions.
                        9          The Court, having considered all papers filed in favor of, and in opposition to, Neo4j, Inc.’s
                   10       Motion, and good cause appearing, HEREBY GRANTS Neo4j, Inc.’s Consolidated Motion for
                   11       Partial Summary Judgment as set forth in its separate order, and in doing so enters the following
                   12       PERMANENT INJUNCTION.
                   13              Defendants and their owners, principals, agents, managers, officers, directors, members,
                   14       servants, employees, successors, assigns, and all other persons acting in concert and participation
                   15       with them (collectively, the “Enjoined Parties”) ARE HEREBY IMMEDIATELY and
                   16       PERMANENTLY ENJOINED from:
                   17              1.      Infringing U.S. Trademark Registration No. 4,784,280 for the word mark “NEO4J”
                   18       covering the goods and services in International Classes, 009, 035, 041, 042 and 045 (the “Neo4j®
                   19       Mark”).
                   20              2.      Using Neo4j® Mark in connection with the manufacture, sale, offering for sale,
                   21       distribution, advertisement, or promotion of any products offered by Enjoined Parties, including
                   22       ONgDB (Open Native Graph DB).
                   23              3.      Using any logo, trade name, or trademark confusingly similar to the Neo4j® Mark
                   24       which may be calculated to falsely represent or which has the effect of falsely representing that the
                   25       services or products of any or all of the Enjoined Parties or of others are sponsored by, authorized
                   26       by, or in any way associated with Neo4j Inc. and Neo4j Sweden AB.
                   27              4.      Advertising, displaying or distributing products, literature or any other materials that
                   28       use the Neo4j® Mark to advertise or promote ONgDB or any other graph database software;
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                        1          5.      Using the Neo4j® Mark as a hashtag on social media, including Facebook,
                        2   Instagram, Twitter or similar internet-based social media and websites.
                        3          6.      Using the Neo4j® Mark in a URL address for any website or webpage owned, used
                        4   or managed by any and all Enjoined Parties.
                        5          7.      Using the Neo4j® Mark as a metatag or title tag on any website or webpage owned,
                        6   used or managed by any and all Enjoined Parties.
                        7          8.      Using the Neo4j® Mark in a hyperlink on any website or webpage owned, used or
                        8   managed by any and all Enjoined Parties.
                        9          9.      Using hyperlinks on any website or webpage owned, used or managed by any and
                   10       all Enjoined Parties that redirect users to Neo4j, Inc.’s website, www.neo4j.com, or any webpage
                   11       or content contained therein.
                   12              10.     Using hyperlinks on any website or webpage owned, used or managed by any and
                   13       all Enjoined Parties that redirect users to any of Neo4j, Inc. or Neo4j Sweden AB’s official
                   14       documentation, including, build instructions, release notes, change logs, operation manuals and
                   15       developer manuals.
                   16              11.     Using hyperlinks on the landing page for Graph Foundation, Inc.’s Github
                   17       repository that redirect users Neo4j, Inc. and Neo4j Sweden AB’s GitHub repository,
                   18       https://github.com/neo4j/, or any webpage or content contained therein.
                   19              12.     Advertising, promoting, representing or referring to ONgDB as follows:
                   20                      (a)    A free and open source drop-in replacement of Neo4j® Enterprise Edition
                   21       distributions with the same version number, and similar misstatements;
                   22                      (b)    Containing modules from Neo4j® Community Edition and Neo4j®
                   23       Enterprise modules licensed under the GNU Affero General Public License version 3 (“AGPL”),
                   24       and similar misstatements;
                   25                      (c)    Being licensed under the AGPLv3 as a free and open source alternative to
                   26       commercially licensed Neo4j® Enterprise Edition, and similar misstatements;
                   27                      (d)    A drop-in replacement for Neo4j Enterprise commercial packages
                   28       downloaded from Neo4j.com, and similar misstatements;
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                            5:19-CV-06226-EJD
                            Case 5:19-cv-06226-EJD           Document 93-4        Filed 12/11/20     Page 4 of 7



                        1                    (e)    A drop-in replacement for Neo4j® Enterprise Edition under the AGPL,
                        2   without limitations on causal cluster instances, cores, or production usage, and similar
                        3   misstatements;
                        4                    (f)    A drop-in replacement for the Neo4j Community and Enterprise branded
                        5   distributions, and similar misstatements;
                        6                    (g)    A fork of the Neo4j® graph database platform that adds enterprise code back
                        7   into Neo4j® core, and similar misstatements; and
                        8                    (h)    One hundred percent (100%) free and open source, and similar
                        9   misstatements.
                   10                13.     Advertising, promoting, representing or referring to Neo4® Enterprise or Neo4j®
                   11       Enterprise Edition being released only under the AGPL.
                   12                14.     Representing that Neo4j Sweden AB’s addition of the Commons Clause to the
                   13       license governing Neo4j® Enterprise Edition violated the terms of AGPL, and similar statements.
                   14                15.     Representing that the Free Software Foundation (FSF) determined or confirmed that
                   15       (a) the addition of the Commons Clause to the license governing Neo4j® Enterprise Edition
                   16       violated the terms of AGPL; and/or (b) the Commons Clause could be removed from the software
                   17       license governing Neo4j® Enterprise and/or ONgDB.
                   18                16.     Representing that government agencies, such as the Department of the Treasury and
                   19       Internal Revenue Service (IRS), determined that (a) the addition of the Commons Clause to the
                   20       license governing Neo4j® Enterprise Edition violated the terms of AGPL; (b) the Commons Clause
                   21       could be removed from the software license governing Neo4j® Enterprise and/or ONgDB; or (c)
                   22       ONgDB could be used in production under the AGPL.
                   23                17.     Making any other false or misleading statements regarding or concerning the
                   24       licensing of Neo4j® Enterprise Edition and/or any license governing Neo4j® Enterprise Edition.
                   25                18.     Making any other false or misleading statements, directly or indirectly, concerning
                   26       Neo4j® Enterprise Edition, Neo4j® Community Edition, Neo4j® Core or any other products and
                   27       services offered by Neo4j, Inc. or Neo4j Sweden AB under the Neo4j® Mark.
                   28       ///
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                            Case 5:19-cv-06226-EJD           Document 93-4         Filed 12/11/20      Page 5 of 7



                        1            19.    Making any other false or misleading statements, directly or indirectly, concerning
                        2   Neo4j, Inc. or Neo4j Sweden AB.
                        3            20.    Advertising, displaying or distributing products, literature or any other materials that
                        4   use the Neo4j® Mark to advertise or promote ONgDB or any other graph database software.
                        5            21.    Otherwise unfairly competing with Neo4j Inc. and Neo4j Sweden AB in the
                        6   manufacture, sale, offering for sale, distribution, advertisement, or promotion of ONgDB or any
                        7   other graph database software.
                        8            22.    Falsely representing being connected with either Neo4j Inc. and Neo4j Sweden AB
                        9   or sponsored by or associated with them or engaging in any act which is likely to cause the graph
                   10       database industry, vendors, contractors, retailers, potential customers, actual customers and/or
                   11       members of the purchasing public to believe that any or all of the Enjoined Parties or ONgDB is
                   12       endorsed, associated or sponsored by Neo4j Inc. or Neo4j Sweden AB.
                   13                23.    Using any reproduction, counterfeit, copy, or colorable imitation of the Neo4j®
                   14       Mark in connection with the publicity, promotion, sale, or advertising of ONgDB or any other graph
                   15       database software;
                   16                24.    Affixing, applying, annexing, or using in connection with the sale of any goods, a
                   17       false description or representation including words or other symbols tending to falsely describe or
                   18       represent such goods as being Neo4j® products and from offering such goods in commerce.
                   19                25.    Assisting, aiding, or abetting any other person or business entity in engaging in or
                   20       performing any of the activities referred to Paragraphs 1-23 above.
                   21                IMMEDIATELY UPON RECEIVING THIS INJUNCTION, the Enjoined Parties must:
                   22                1.     Remove, delete and/or deactivate all metatags, html title tags, URLs, hyperlinks that
                   23       contain the Neo4j® Mark from all websites, webpages and GitHub repositories owned, used or
                   24       managed by the Enjoined Parties.
                   25                2.     Remove and delete all uses and references to the Neo4j® Mark, including “neo4j,”
                   26       “neo4j enterprise,” “the neo4j project,” “neo4j enterprise project” and “Neo4j Enterprise,” from all
                   27       websites, webpages and GitHub repositories owned, used or managed by the Enjoined Parties.
                   28       ///
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                        1            3.      Remove and delete all hyperlinks on any website or webpage owned, used or
                        2   managed by any and all Enjoined Parties that redirect users to Neo4j, Inc.’s website,
                        3   www.neo4j.com, or any webpage or content contained therein.
                        4            4.      Remove and delete all hyperlinks on any website or webpage owned, used or
                        5   managed by any and all Enjoined Parties that redirect users to any of Neo4j, Inc. or Neo4j Sweden
                        6   AB’s official documentation, including, build instructions, release notes, change logs, operation
                        7   manuals and developer manuals.
                        8            5.      Remove and delete all posts made on social media, including Facebook, Instagram,
                        9   Twitter or similar internet-based social media and websites, which contain the Neo4j® Mark or use
                   10       the Neo4j® Mark as a hashtag.
                   11                6.      Remove and delete from website or webpage owned, used or managed by any and
                   12       all Enjoined Parties
                   13                7.      Remove and delete the following misstatements and variations thereof from all
                   14       websites, webpages and GitHub repositories owned, used or managed by the Enjoined Parties:
                   15                        (a)    A free and open source drop-in replacement of Neo4j® Enterprise Edition
                   16       distributions with the same version number;
                   17                        (b)    Containing modules from Neo4j® Community Edition and Neo4j®
                   18       Enterprise modules licensed under the GNU Affero General Public License version 3 (“AGPL”);
                   19                        (c)    Being licensed under the AGPLv3 as a free and open source alternative to
                   20       commercially licensed Neo4j® Enterprise Edition;
                   21                        (d)    A drop-in replacement for Neo4j Enterprise commercial packages
                   22       downloaded from Neo4j.com;
                   23                        (e)    A drop-in replacement for Neo4j® Enterprise Edition under the AGPL,
                   24       without limitations on causal cluster instances, cores, or production usage;
                   25                        (f)    A drop-in replacement for the Neo4j Community and Enterprise branded
                   26       distributions;
                   27                        (g)    A fork of the Neo4j® graph database platform that adds enterprise code back
                   28       into Neo4j® core; and
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                        1                    (h)   One hundred percent (100%) free and open source, and similar
                        2   misstatements.
                        3
                                     IT IS SO ORDERED.
                        4

                        5
                              Dated:_________________________
                        6                                                   EDWARD J. DAVILA
                                                                            United States District Court Judge
                        7

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